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                         UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MISSOURI: EASTERN DIVISION

 HANS MOKE NIEMANN,                              )
                                                 )
        Plaintiff,                               )   CIVIL ACTION NO. 4:22-CV-01110
                                                 )
 v.                                              )   JURY TRIAL DEMANDED
                                                 )
 SVEN MAGNUS ØEN CARLSEN A/K/A                   )
 MAGNUS CARLSEN, PLAY MAGNUS                     )
 AS D/B/A PLAY MAGNUS GROUP,                     )
 CHESS.COM, LLC, DANIEL RENSCH                   )
 A/K/A “DANNY” RENSCH, AND                       )
 HIKARU NAKAMURA,                                )
                                                 )
        Defendants.                              )

                             SECOND AMENDED COMPLAINT

       Plaintiff Hans Moke Niemann (“Niemann”), by and through his attorneys Oved & Oved

LLP (admitted pro hac vice) and local Missouri counsel The Gartner Law Firm, alleges, upon

information and belief, as follows:

                                 NATURE OF THE ACTION

       1.      Niemann is a 19-year old, self-taught chess prodigy. He brings this action to

recover from the devastating damages that Defendants have inflicted upon his reputation, career,

and life by egregiously defaming him and unlawfully colluding to blacklist him from the

profession to which he has dedicated his life.

       2.      In 2014, Niemann became the youngest-ever winner of the Tuesday Night

Marathon at the Mechanics’ Institute Chess Club, the oldest chess club in the United States,

earning him the title of U.S. Chess Federation Master. By December 2020, FIDE, the international

governing body of professional chess, awarded Niemann its highest honor by naming him a chess




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Grandmaster. By October 2022, FIDE ranked Niemann as the 40th best chess player in the world,

tied for the fourth-youngest player in the top-50.

           3.   Chess is Niemann’s life. His gift for playing chess earned him a scholarship to the

prestigious Columbia Grammar & Preparatory School in New York City, a school he could only

attend by simultaneously working full time to support himself financially. Since the age of 16,

Niemann’s sole means of supporting himself has been from the money he makes teaching chess

and participating in chess tournaments. Prior to the events giving rise to this Complaint, Niemann

lived out of a suitcase, traveling the world to compete in chess tournaments.

           4.   Defendant Sven Magnus Øen Carlsen (“Carlsen”) is a 31-year old chess player

from Norway. He is presently the five-time reigning World Chess Champion and the highest-

ranked chess player in history. Carlsen has exploited his notoriety and success in chess to create

an incredibly lucrative global brand and online chess company, Play Magnus Group (“Play

Magnus”). Prior to the acts giving rise to this Complaint, Play Magnus proudly touted Niemann

as one of its brand ambassadors.

           5.   Over the years, Play Magnus has grown into one of the two largest online chess

companies in the world, second only to the multi-billion-dollar behemoth Chess.com, LLC

(“Chess.com”). In August 2022, Chess.com agreed to acquire Play Magnus for nearly $83 million

and merge the two companies in order to monopolize the competitive chess market. As a result of

his stature, Carlsen has outsized influence over the format of prominent chess tournaments and

who gets invited to compete in them. Carlsen, having solidified his position as the self-described

“King of Chess,” believes that when it comes to chess, he can do whatever he wants and get away

with it.




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       6.      On September 4, 2022, Niemann soundly defeated Carlsen during an in-person

game at the prestigious Sinquefield Cup chess tournament in St. Louis, Missouri.

       7.      Notably, this was not the first time that Niemann beat Carlsen at chess, just the first

time he did so at a FIDE-sanctioned event. Niemann’s upset victory effectively dashed Carlsen’s

two remaining statistical ambitions, namely: achieving a 2900 FIDE performance rating for the

first time in history; and breaking his own world-record unbeaten streak in FIDE-sanctioned

events. These accomplishments, if achieved, would have solidified Carlsen as arguably the

greatest chess player of all time and made his burgeoning chess empire even more valuable.

Making matters worse for Carlsen, Niemann embarrassed Carlsen by playfully taunting him during

his post-match interview.

       8.      Notorious for his inability to cope with defeat, Carlsen snapped. Enraged that the

young Niemann, fully 12 years his junior, dared to disrespect the “King of Chess,” and fearful that

the young prodigy would further blemish his multi-million dollar brand by beating him again,

Carlsen viciously and maliciously retaliated against Niemann by falsely accusing Niemann,

without any evidence, of somehow cheating during their in-person game and demanding that the

organizers of the Sinquefield Cup immediately disqualify Niemann from the tournament.

       9.      When tournament officials refused to comply with Carlsen’s corrupt demand to

baselessly eliminate Niemann from competition, Carlsen lashed out again, this time by boycotting

the remainder of the Sinquefield Cup in protest—an unprecedented act for a top chess professional,

let alone the reigning World Champion. Carlsen then confirmed his defamatory accusations

against Niemann with a provocative post on Twitter, which had the intended effect of

disseminating Carlsen’s false accusations that Niemann had cheated against him across the globe.




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       10.     Days later, Carlsen was scheduled to play Niemann again in the Julius Baer

Generation Cup. Rather than seek to redeem himself from his unexpected loss to Niemann,

Carlsen, the “King of Chess,” forfeited the game after making one move, and then issued a press

release repeating his false accusations that Niemann had cheated against him at the Sinquefield

Cup.

       11.     Carlsen’s unprecedented actions, coupled with his unfounded accusations, sent

shock waves through the chess world and instantly thrust Niemann into the center of what is now

widely reported as the single biggest chess scandal in history.

       12.     Due to his unparalleled stature and influence in the chess community, Carlsen knew

that (i) the public would believe his accusations of cheating against Niemann, even though Carlsen

had no legitimate basis to believe Niemann actually cheated against him; (ii) he could ensure that

no reputable chess tournament would invite Niemann to compete in the future; and (iii) his false

accusations would cause other top chess players to boycott Niemann as well.

       13.     Following Carlsen’s defamatory accusations, a flurry of independent and unbiased

sources, including the tournament organizers and arbiters of the Sinquefield Cup, FIDE, and the

world’s foremost experts in cheat detection, have uniformly confirmed that there is no evidence

that Niemann cheated in any of his games against Carlsen, including at the Sinquefield Cup,

particularly given the more than ample anti-cheating security measures used at the event. Unbiased

top chess analysts have dissected Niemann and Carlsen’s Sinquefield Cup game in excruciating

detail and concluded that Niemann’s victory resulted more from Carlsen’s particularly poor play

than Niemann’s particularly exceptional play.

       14.     Nonetheless, following Carlsen’s baseless and retaliatory accusations, Carlsen

unleashed his media empire to fan the flames of Carlsen’s cheating accusations, drown out the



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legitimate evidence refuting them, blacklist Niemann from top-level chess tournaments, and

protect, at any cost, his eponymous Play Magnus brand and status as the self-proclaimed “King of

Chess.” Almost immediately thereafter:

                (a)   Chess.com banned Niemann from its website and all of its future
                      events, to lend credence to Carlsen’s unsubstantiated and defamatory
                      accusations of cheating;

                (b)   Defendant Hikaru Nakamura (“Nakamura”)—Chess.com’s most
                      influential streaming partner—published hours of video content
                      amplifying and attempting to bolster Carlsen’s false cheating
                      allegations against Niemann with numerous additional defamatory
                      statements; and

                (c)   Chess.com executive Danny Rensch (“Rensch”) issued defamatory
                      press releases and leaked defamatory “reports” to prominent press
                      outlets, falsely accusing Niemann of lying in his post-match
                      Sinquefield Cup interview regarding his use of a “chess engine” in a
                      handful of recreational online games when he was a child, to bolster
                      Carlsen’s unsubstantiated defamatory accusations that Niemann
                      cheated against him at the Sinquefield Cup.

        15.     Despite the falsity of Defendants’ accusations, Defendants’ malicious defamation,

Carlsen’s refusal to compete against Niemann in tournaments, and Defendants’ other unlawful and

anti-competitive conduct set forth below has, by design, destroyed Niemann’s remarkable career

in its prime and ruined his life.

        16.     After the commencement of this action, Chess.com merged with Play Magnus,

bringing all of Play Magnus’ events under Chess.com’s umbrella and making Carlsen the brand

ambassador of Chess.com. As a result, Chess.com, from which Niemann has been banned, has

effectively monopolized major online chess tournaments. Moreover, as the premier sponsor of

FIDE-rated chess tournaments, Chess.com, in coordination with Carlsen, can ensure that Niemann,

despite his top ranking, will not receive invitations to the vast majority of professional tournaments

in which he would otherwise qualify to play.




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       17.     Already, based on Defendants’ defamatory accusations: (i) the Chess.com Global

Championship revoked Niemann’s invitation to play in that tournament in October 2022, even

though Niemann earned that invitation through his exceptional play; (ii) teenage Grandmaster

Vincent Keymer cancelled his upcoming game with Niemann in Germany; (iii) the Tata Steel

Chess Tournament, one of chess’s most prestigious tournaments, immediately ceased its ongoing

arrangements for Niemann to play in its January 2023 tournament; (iv) Niemann cannot participate

in the “open qualifiers” for the formerly-Play Magnus, but now Chess.com run, $2 million

Champions Chess Tour in 2023; and (v) Niemann cannot obtain employment as a chess teacher at

a reputable school.

       18.     Accordingly, Niemann asserts the following claims against Defendants:

(1) slander; (2) libel; (3) violations of the Sherman Act, 15 U.S.C. §§ 1 and 2, et. seq.; (4) tortious

interference with contract and business expectancies; (5) civil conspiracy; and (6) breach of

contract.

       19.     Niemann seeks damages in an amount to be determined at trial, but no less than

One Hundred Million Dollars ($100,000,000).

                                             PARTIES

       20.     Plaintiff Hans Moke Niemann is a natural person, and a Connecticut citizen solely

by virtue of the fact that he moved to Connecticut with his family in 2015 and never established

citizenship in another state. Other than being the location of his parents’ home, however, Niemann

has virtually no connection to Connecticut. He has not lived in Connecticut since 2019. He does

not hold a job or keep a residence in Connecticut. He has spent only five days in Connecticut in

the past year. Moreover, no major chess tournaments or organizations are located in Connecticut

and, therefore, Niemann’s reputation in Connecticut has no particular impact on his professional



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chess career or life. By contrast, St. Louis, Missouri is well-known as the nation’s top chess hub;

is home to the St. Louis Chess Club and the World Chess Hall of Fame; has hosted some of the

most prestigious chess competitions in the history of the game; and was declared the “Chess

Capital of the United States” in 2014 by the U.S. Senate. Missouri is where Niemann’s reputation

and the esteem of his competitors and associates is most critical. In 2022, Niemann spent

approximately 97 days in St. Louis, Missouri, which is more time than he spent in any other single

location. Niemann was in St. Louis, Missouri at the time that the acts giving rise to this Complaint

occurred.

       21.     Defendant Sven Magnus Øen Carlsen is a natural person and citizen of Norway.

Carlsen engages in extensive commercial activities in St. Louis, Missouri, including regularly

competing in and commentating on chess tournaments and events. Carlsen routinely travels to St.

Louis, Missouri for these events. Carlsen was in St. Louis, Missouri at the time that the acts giving

rise to this Complaint occurred.

       22.     At the time Niemann commenced this action, Defendant Play Magnus AS d/b/a

Play Magnus Group was a Norway private limited company founded and owned, in whole or in

part, by Carlsen, and a citizen of Norway. On December 16, 2022, following the commencement

of this action, Play Magnus was acquired by Chess.com.

       23.     Defendant Chess.com, LLC is a Nevada limited liability company with a principal

place of business in Mountain View, California. Prior to amending this Complaint, Plaintiff’s

counsel conferred with Chess.com’s counsel, who advised that, to the best of their knowledge,

Chess.com does not have any Connecticut citizens as members.

       24.     Defendant Daniel a/k/a “Danny” Rensch is a natural person and a citizen of Utah.

While Rensch maintains that he was not in Missouri during the time period relevant to this



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Complaint, he conspired and coordinated with Carlsen and the other Defendants to commit tortious

acts against Niemann when both Niemann and Carlsen were in Missouri. As Chess.com’s “Chief

Chess Officer,” Rensch engages in extensive commercial activities in St. Louis, Missouri,

including regularly attending chess tournaments and other events. Rensch routinely travels to St.

Louis, Missouri for these events and was in St. Louis, Missouri during the Sinquefield Cup.

       25.     Defendant Hikaru Nakamura is a natural person and a citizen of Florida. While

Nakamura maintains that he was not in Missouri during the time period relevant to this Complaint,

he conspired and coordinated with Carlsen and the other Defendants to commit tortious acts

against Niemann when both Niemann and Carlsen were in Missouri. Nakamura engages in

extensive commercial activities in St. Louis, Missouri, including regularly competing in and

commentating on chess tournaments and events. Nakamura routinely travels to St. Louis, Missouri

for these events.

                                 JURISDICTION AND VENUE

       26.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 because

Niemann’s claims arise out of federal law, namely 15 U.S.C. § 1, et seq. The Court has

supplemental jurisdiction over Niemann’s state law claims pursuant to 28 U.S.C. § 1367.

       27.     Upon information and belief, this Court also has jurisdiction over this action

pursuant to 28 U.S.C. § 1332 because, to the best of Chess.com’s own knowledge, Chess.com does

not have any Connecticut citizens as members.

       28.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claims, including some of the defamatory statements

forming the basis of this Complaint, occurred in this District.




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                                              FACTS

A.     The Key Players and Their Roles

       i.      FIDE and Its Oversight of Professional Chess

       29.     Since 1924, chess has been regulated by the International Chess Federation, a

Swiss-based federation popularly known by its French acronym, “FIDE” (Fédération

Internationale des Échecs). In its current form, FIDE is made up of national chess organizations

in 200 countries and has been recognized by the International Olympic Committee as an official

Global Sporting Organization.

       30.     As the official body overseeing professional chess, FIDE sets the rules of

international chess competitions, organizes and sanctions the highest-level professional chess

tournaments, including the World Chess Championship, and certifies tournament arbiters (i.e.,

referees or umpires).    In addition, one of FIDE’s most important functions is to calculate

professional chess players’ official performance ratings. These official ratings are used for several

purposes, including bestowing professional titles such as “Grandmaster” and determining which

players qualify for professional tournaments.

       31.     FIDE calculates these official performance ratings using an algorithm known as the

“Elo rating system.” Only events that are officially sanctioned by FIDE affect players’ official

FIDE performance ratings. To qualify as an officially-sanctioned FIDE event, a tournament or

match must adhere to strict parameters established by FIDE.

       32.     Prior to 2021, FIDE only officially sanctioned matches and tournaments that were

held in-person, with participants playing their matches “over the board”—i.e., physically sitting

across from each other and moving their chess pieces by hand. FIDE employs strict anti-cheating

procedures, such as screening players for metal and electronic devices, broadcasting games with

time delays, and tightly observing the players during their matches.

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       33.     Currently, the vast majority of official FIDE-sanctioned events are still conducted

in-person, with only a few select events taking place online. FIDE-sanctioned online events also

employ strict anti-cheating protections to ensure that those online matches are played fairly.

       34.     Niemann, however, has never participated in a FIDE-rated event that was not “over

the board.”

       35.     The day-to-day operations of each of the FIDE-sanctioned tournaments are run by

tournament organizers, in conjunction with FIDE (the “Tournament Organizers”). Tournament

Organizers are responsible for, among other things, tournament logistics, security, and anti-

cheating, or “fair play,” measures.

       ii.     Chess.com and Its Economic Dominance in the Competitive Chess Market

       36.     Outside of “official” chess events and tournaments sanctioned and regulated by

FIDE, the authoritative body governing professional chess, there are a large variety of websites

and online applications, including Chess.com, on which people of any skill level—novices,

enthusiasts, and professionals alike—can play recreational chess.

       37.     Over the past three decades, these casual chess platforms have seen a meteoric rise

in popularity, largely due to the ease with which they allow individuals of all skill levels to play

recreational chess quickly and easily with others all over the world.

       38.     Through a series of acquisitions, Chess.com has become, by far, the world’s largest

and most popular online chess company. Chess.com currently has more than 100 million members

who play over ten million online chess games on its website each day. This is more than three

times the number of games hosted by the next largest chess website, Lichess.org, which is a free

and open-source website maintained by a non-profit organization.

       39.     To attract members to its platforms, Chess.com solicits top chess professionals

from all over the world to play recreational Chess.com matches and create content on its platforms,

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pursuant to Streaming Partner Agreements.         Players with Streaming Partner Agreements

(“Streaming Partners”) create content, including articles, interviews, and “streaming videos”

during which top players play chess live and/or offer commentary regarding topics of interest to

chess fans. Chess.com employs many of the world’s most famous competitive chess players,

including Carlsen and Nakamura.

         40.    Chess.com allows members to “follow” their favorite chess players for easier

access to those players’ games and content. Nakamura, for instance, has over one million followers

on Chess.com, and Carlsen has over 64,000.

         41.    While Chess.com provides an online “rating system” for its members, that rating

system is completely separate from, and has no bearing whatsoever on, a player’s official FIDE

performance rating. Rather, a player’s Chess.com rating is a private and unofficial tool that

members can use to help identify and play other Chess.com members with roughly the same skill

level.

         42.    Accordingly, a professional chess player’s performance on Chess.com has

absolutely no effect on their professional rankings, qualifications for official FIDE-sanctioned

events, or official records and statistics.

         43.    Moreover, while Chess.com occasionally hosts tournaments and events on its

online platform in which top-ranked professional chess players participate and compete for prize

money, Chess.com generally does not host FIDE-rated events on its platform.

         44.    For the most part, professional chess players use Chess.com merely to connect with

fans, increase their visibility in the chess community and gain “followers” to enhance their

personal brands, or simply to have fun and play chess in a relaxed, unofficial atmosphere. For

example, despite Carlsen’s obsession with his FIDE ranking and unbeaten streaks, Chess.com’s



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own statistics reveal that he has lost 20% of his online chess games on Chess.com in the past month

alone.

         45.    Even though Chess.com has no official role in governing professional chess, it is

nevertheless a dominant force in the professional chess market by virtue of its enormous revenues

and influence as the world’s dominant online chess site. For example, Chess.com is a major

corporate sponsor of almost every important and prestigious professional chess tournament around

the world, including FIDE-sanctioned, in-person chess tournaments and events.

         46.    Thus, despite being unable to rank players, govern official chess rules and

regulations, or host FIDE-sanctioned events on its platform, Chess.com can exert its dominance to

determine which players will succeed or fail by controlling who is, and who is not, invited to the

events and tournaments it sponsors, and who can use its leading online Chess.com platform. As

the dominant source of chess-related news and events, access to Chess.com also has a major

influence on top chess players’ image and public exposure.

         47.    Professional chess tournaments and online recreational chess platforms are

collectively defined as the “Competitive Chess Market.”

         iii.   Chess.com’s “Chief Chess Officer,” Rensch

         48.    Rensch is an “international master” level player, which is one level below

Grandmaster. He is one of Chess.com’s top executives, holding the title “Chief Chess Officer.”

         49.    Rensch is the public face of Chess.com, and a well-known figure in the chess world

for his coverage and commentary for Chess.com’s flagship online events, as well as over the board

tournaments sponsored by Chess.com.




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        iv.     Carlsen and His Company Play Magnus, Formerly Chess.com’s Main Competitor

        50.     Practically synonymous with professional chess, Carlsen is a FIDE Grandmaster

who has won every World Chess Championship since 2013. He has the single highest peak Elo

rating in the history of chess of 2882. Carlsen interacts with the public through his popular Twitter

account, @MagnusCarlsen, which has over 830,000 followers, and a highly visible streaming

channel sponsored by Chess.com.

        51.     In 2014, Carlsen founded Play Magnus, which, after Chess.com, has become the

second most dominant commercial enterprise in chess.

        52.     Over the years, Play Magnus expanded its reach in the Competitive Chess Market

by acquiring other chess websites and chess content creators. In 2019, Play Magnus acquired the

chess websites chess24.com and chessable.com. Chess24.com is one of the most popular chess

websites worldwide, and hosts one of the two largest internet chess servers other than Chess.com.

In 2020, Play Magnus expanded further by acquiring the U.S. website ichess.net. In 2021, Play

Magnus acquired the Dutch magazine New in Chess and the publisher Everyman Chess.

        53.     As stated on its website, Carlsen, through Play Magnus, “united some of the most

exciting chess brands and platforms into one strong ecosystem to grow the sport of chess.” Under

his own personal brand, Play Magnus’s explicitly stated mission is to “Defin[e] the future of

Chess.”

        54.     On July 19, 2022, Carlsen announced that he would not defend the Chess World

Championship title that he has held since 2013. Instead, Carlsen would focus on two personal

goals that he believed would solidify his stature as the greatest chess player of all time: (i) breaking

his own world-record unbeaten streak of 125 consecutive FIDE-sanctioned matches; and




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(ii) achieving an official FIDE performance rating of 2900, which has never been accomplished in

the history of chess.

       v.         Chess.com Streamer Hikaru Nakamura and His History of
                  Abusing His Influence with Chess.com to Blacklist Competitors

       53.        Nakamura is a chess Grandmaster who, at his peak, was ranked second in the world

by FIDE.

       54.        Nakamura is by far Chess.com’s most popular streaming partner, with nearly one

million followers on Chess.com. Nakamura also operates streaming channels on multiple other

social media platforms.

       55.        For example, in 2018, Nakamura began streaming on the Twitch platform under

the channel name GMHikaru. On February 14, 2021, Nakamura reached the milestone of one

million followers on his Twitch channel.

       56.        Nakamura uses these channels to stream the chess matches he plays online and to

offer a Grandmaster chess player’s insight and commentary on current events in the Competitive

Chess Market. Nakamura has publicly stated that he prioritizes his streaming career over his chess-

playing career.

       57.        Nakamura also operates a server called “Naka’s PogUniversity” on Discord, a

popular voice and text messaging social media platform, and has a Twitter account with over

460,000 followers. In addition, Nakamura has a YouTube channel, which has 1.57 million

subscribers.

       58.        Nakamura has had an acrimonious relationship with Niemann for several years,

dating back to when they both worked as streamers for Chess.com and Nakamura viewed Niemann

as a threat to his dominance on chess streaming platforms.




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       59.    As Chess.com’s most prolific online personality, Nakamura has a well-documented

history of abusing his leverage with Chess.com to blacklist competitors, accuse players of

cheating, and damage the careers of up-and-coming chess players.

       60.    In 2016, Nakamura baselessly accused fellow Grandmaster Akshat Chandra of

cheating against him during an over the board game at the U.S. Chess Championship. Shortly

thereafter, Rensch suddenly informed Chandra that he was banned from Chess.com for allegedly

cheating online years earlier when he was only 15. When Chandra denied the accusations, Rensch

threatened to make the ban permanent and to also ban Chandra from the ProChessLeague operated

by Chess.com, unless Chandra confessed to cheating. As Chandra later commented in a lengthy

portrayal of the controversy, “This appears to be a witch hunt which took Chess.com back 3 years

to find something and ban me from the site” (https://akshatchandra.com/locked-from-chess-com).

As Chandra explained, when he refused to capitulate and confess, Chess.com’s ban continued.

       61.    Nakamura also had an acrimonious relationship with Canadian Grandmaster Eric

Hansen, which led to a fist fight between them in or around 2018. As part of a personal vendetta,

Nakamura abused his influence over Chess.com to revoke Hansen’s invitation to be a commentator

in Chess.com tournaments known as “PogChamps.”

       vi.    Niemann and His Meteoric Rise from Child Prodigy to FIDE Top-40 Player

       62.    Niemann is American chess prodigy.

       63.    At the age of 11, he became the youngest player to win the Tuesday Night

Marathon, a tournament held at the Mechanics’ Institute Chess Club, the oldest chess club in the

United States. This victory earned Niemann the title of U.S. Chess Federation Master.

       64.    At the age of 16, Niemann, who received no financial support or assistance from

his family or anyone else, moved to New York City after receiving a scholarship to attend the



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prestigious Columbia Grammar & Preparatory School. While in school, Niemann supported

himself by teaching chess at other prestigious schools, including The Nightingale-Bamford School

and The Browning School, and participating in professional chess tournaments.

       65.    At the age of 17, FIDE granted Niemann the title of Grandmaster.

       66.    Since then, Niemann, by playing a record number of games in 2021, has been

steadily climbing FIDE’s ranks. By virtue of his decision to dedicate himself wholly and

completely to playing in FIDE-sanctioned chess tournaments, Niemann rose in the rankings to 40th

in the world, with a FIDE performance rating of 2699.

B.     Chess.com’s Merger with Play Magnus to Monopolize Competitive Chess

       67.    In August 2022, shortly before Niemann’s victory against Carlsen at the

Sinquefield Cup, Play Magnus and Chess.com announced that Play Magnus accepted an offer to

be acquired by Chess.com for approximately $83 million, with plans to merge the two companies

and monopolize the Competitive Chess Market (the “Merger”).

       68.    The Merger’s announcement was personally made by Rensch and Carlsen in a split-

screen video, as depicted below:




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         69.   When Chess.com and Play Magnus announced the Merger on August 24, 2022,

they estimated that it would take approximately six to eight weeks to finalize the transaction.

         70.   Thus, at the time Niemann defeated Carlsen at the Sinquefield Cup, Carlsen and

Chess.com were in the midst of negotiating terms for Carlsen’s sale of his Play Magnus brand.

         71.   Upon announcing the Merger, it was reported that “With this, there is no other

realistic chess competitor in sight (apart from the open-source and free Lichess platform), raising

questions about monopolistic issues in the space and the reasons behind Chess.com’s recent price

hike.”

         72.   The Merger officially closed on December 16, 2022. In association with the

Merger, Chess.com announced that Carlsen has signed on as a Chess.com ambassador and will be

competing regularly in Chess.com events. As a brand ambassador for Chess.com, Carlsen’s

already-outsized influence over who receives invitations to top chess events increased




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significantly. Chess.com announced the Merger on its “State of Chess.com” live stream on

December 21, 2022 where Rensch was joined by Carlsen.

       73.     The Merger has solidified Chess.com’s monopoly over the Competitive Chess

Market by, among other things, providing it total control over Chess24, one of the last few

alternatives to Chess.com for online chess, and purchasing the Play Magnus brand, which has

become virtually synonymous with chess.

C.     Niemann’s Surprise Upset at the Sinquefield Cup

       74.     Between September 1 and September 13, 2022, Niemann competed in the

Sinquefield Cup, an annual FIDE-sanctioned, invitation-only chess tournament in St. Louis,

Missouri with a total prize pool of $350,000. The Sinquefield Cup is one leg of the “Grand Chess

Tour,” a series of international chess tournaments featuring the top chess players in the world, with

a total prize pool of $1.4 million.

       75.     All of the matches in the Sinquefield Cup were held live and in-person; in other

words, “over the board.”

       76.     The third round of the Sinquefield Cup took place on September 4, 2022, with

Niemann facing Carlsen.

       77.     By all accounts, Niemann was a massive underdog, particularly given that Carlsen

was playing with the white pieces, which afforded Carlsen the distinct competitive advantage of

making the first move in the game.

       78.     Yet, unlike the vast majority of Carlsen’s opponents, Niemann was not intimidated

by Carlsen’s stature and did not play for a draw like most would have done.

       79.     Niemann played to win. He attacked Carlsen early and flipped the advantage to the

black pieces, which rattled Carlsen for the remainder of the game.



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       80.      Unnerved by Niemann’s unexpected confidence and early strategic advantage,

Carlsen made numerous mistakes upon which Niemann capitalized to secure a tremendous victory

over Carlsen, which, by all accounts, should have propelled Niemann’s career to the next level and

allowed him to continue realizing his enormous potential as the next great American chess player.

       81.      Unbeknownst to Niemann at the time, Defendants would do whatever it took to

ensure that this would never happen.

       82.      Niemann not only beat Carlsen; Niemann embarrassed Carlsen by defeating him

with the black pieces and playfully taunting him during and after their match. He also shattered

Carlsen’s 53-game unbeaten streak and made it practically impossible for Carlsen to ever achieve

a 2900 FIDE performance rating. What is more, Niemann handed Carlsen this stunning upset

while Carlsen was in the midst of negotiating and finalizing the Merger to solidify Carlsen’s chess

empire around his Play Magnus brand.

D.     Carlsen Responds by Falsely and Baselessly Accusing Niemann of Cheating

       83.      As a result of this shocking defeat, Carlsen snapped. Unable to accept the reality

of his unexpected loss, Carlsen maliciously retaliated by defaming Niemann to Michael

Khodarkovsky, the Executive Director of the Grand Chess Tour, falsely accusing Niemann of

cheating during their game and demanding that Niemann be immediately disqualified.

       84.      Carlsen knew perfectly well that Niemann did not cheat against him. As the

highest-ranked chess player in the world, Carlsen knows full well when he has played a game of

chess poorly.

       85.      Nonetheless, Carlsen knew that if he could use his influence to have Niemann

suddenly disqualified from a major professional chess tournament, it would send a clear and

convincing message to the public that Niemann only beat Carlsen because Niemann cheated.



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       86.     However, because Carlsen had absolutely no evidence of Niemann’s cheating,

Khodarkovsky refused to comply with Carlsen’s dictatorial command.

       87.     Yet this did not stop Carlsen from disseminating his false and defamatory

accusations that Niemann cheated. It merely forced him to be more creative. Carlsen rose to the

challenge by first convincing Khodarkovsky to dramatically enhance the anti-cheating measures

at the Sinquefield Cup, including by adding military-grade metal detection scans and a 15-minute

tape delay on all broadcasts of tournament games. Carlsen knew that the sudden, unnecessary,

and unexplained implementation of these new anti-cheating measures would be interpreted by the

chess community and the public to mean that the Tournament Operators had a legitimate basis to

believe that one or some of its players had cheated.

       88.     Then, at 2:00 PM on September 5, 2022, the day after Niemann’s shocking upset,

Carlsen publicly announced on his Twitter page that he had withdrawn from the Sinquefield Cup.

       89.     In that Twitter post, Carlsen linked to a video of soccer manager José Mourinho

infamously reacting to a controversial referee decision by saying “I prefer really not to speak. If I

speak, I am in big trouble.” Carlsen’s Twitter post is reproduced below:




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       90.     Carlsen knew full well that withdrawing in the middle of a prestigious, high-profile

professional chess tournament like the Sinquefield Cup is virtually unheard of for any top-level

chess player, let alone the reigning Chess World Champion widely considered to be the greatest

chess player in history.

       91.     By insisting that the Sinquefield Cup impose enhanced anti-cheating measures after

his loss to Niemann, resigning from the tournament immediately thereafter, and then referencing

a famous video of a soccer coach refraining from publicly accusing referees of misconduct, Carlsen

conveyed a clear and unmistakable message to the public: that Niemann only beat Carlsen because

Niemann cheated.

       92.     As Carlsen intended, the chess world and the public at large received Carlsen’s

defamatory message loud and clear. On September 6, 2022, worldchess.com posted an article

titled “Did Hans Niemann Actually Cheat? All the Info So Far,” which stated




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               Yesterday, Magnus Carlsen withdrew from the Sinquefield Cup 2022 after
               his loss to Hans Niemann in Round 3. Multiple tweets, streams, comments,
               and security checks later, the accusation of Niemann cheating is pretty
               obvious!

       93.     On September 7, 2022, Slate posted an article titled “The Chess World is absolutely

losing it over cheating allegations after massive upset,” stating that

               Carlsen’s implications rocked the chess community, which quickly began
               speculating online that Niemann must have cheated, despite no evidence of
               foul play being presented from Carlsen or event organizers.

       94.     Also on September 7, 2022, ABC News Australia released an article stating that

               Carlsen announced his withdrawal via a cryptic tweet on Tuesday morning
               (AEST) which was interpreted by many commentators – including leading
               American grandmaster Hikaru Nakamura – as alluding to foul play.

       95.     On September 8, 2022, Chessbase.com posted an article stating

               In the last few days the chess world has been in enormous upheaval after
               the World Champion Magnus Carlsen withdrew from the Sinquefield Cup
               in protest after three rounds, with an unspoken accusation of cheating of the
               player who had defeated him, US rising star Hans Niemann.

       96.     On September 9, 2022, The Guardian newspaper published an article noting that

Carlsen’s “only explanation” for why he withdrew from the Sinquefield Cup

               was a cryptic video clip of the football manager José Mourinho saying “If I
               speak I am in big trouble,” during a press conference about referees. This
               was widely interpreted as raising suspicions of cheating.

That article also noted that Carlsen’s

               games [at the Sinquefield Cup] will be rated and the defeat by Niemann will
               cost him seven rating points, a large setback in the context of trying to get
               from 2865 to 2900. His dream of a record rating has just become more
               distant.

       97.     Also on September 9, 2022, Vice News published an article explaining that the

public “took [Carlsen’s] cryptic tweet to mean that the only reason why Niemann won was because

he cheated.”



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E.     Carlsen Enlisted His New Business Partner Chess.com and Co-Conspirator
       Nakamura to Bolster His False Accusation that Niemann Cheated Against Him

       98.     After Carlsen succeeded in laying the groundwork against Niemann with his initial

defamatory accusations of cheating, he unleashed the full force of his newly-broadened media

empire to publicly bolster those allegations and drown out any legitimate sources of opposition

that demonstrated why Carlsen’s allegations were untrue.

       99.     Immediately after Carlsen announced his withdrawal from the Sinquefield Cup in

a manner maliciously calculated to communicate to the world that Niemann had cheated during

their match, Chess.com banned Niemann from its website, deleted Niemann’s slack account, and

forbade Niemann from participating in any further Chess.com events.

       100.    In doing so, Chess.com breached the agreement that it had previously entered into

with Niemann to play at the Chess.com Global Championship, Chess.com’s largest tournament,

for which Niemann had qualified in a round of “play-in” games. Pursuant to this agreement,

Niemann was to receive a guaranteed prize of between $5,000 and $200,000.

       101.    Notably, Chess.com banned Niemann before Niemann made any statements

regarding his past use of chess engines in games he played on Chess.com when he was 12 and 16

years old, demonstrating that, contrary to Chess.com’s revisionist history, Chess.com’s decision

to ban Niemann had absolutely nothing to do with Niemann’s public statements.

       102.    Rather, this sudden ban, at the precise time that Carlsen accused Niemann of

cheating against him, was specifically designed by Chess.com to add instant credibility to

Carlsen’s false allegations and suggested that they were true. Otherwise, there would be no reason

for Chess.com to suddenly ban Niemann immediately after his victory over Carlsen.

       103.    To bolster these efforts, which effectively blacklisted Niemann from professional

chess, Nakamura leveraged his platform as Chess.com’s top streamer and credibility as a top chess


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player to engage in an all-out blitz of defamatory accusations to further confirm that Carlsen

accused Niemann of cheating and to make it appear that those accusations are true.

       104.   First, on September 5, 2022, Nakamura stated numerous times during one of his

widely-viewed streaming videos that it was “very obvious” that Carlsen withdrew from the

Sinquefield Cup because Niemann had cheated during their match:

              a. “Magnus did not withdraw because he was pissed at losing the game,
                 let’s put it that way. I mean, I’ve played with Magnus for the last 20
                 years, he did not withdraw because he lost the game.”

              b. “I mean, its pretty obvious why Magnus withdrew … Its very obvious
                 why he withdrew and that, there’s no doubt in my mind why he
                 withdrew. No doubt. Zero doubt.… I already said it.… Magnus
                 literally posted a video saying if I speak I’m in big trouble, yeah its very
                 clear what he’s implying. There’s no doubt in my mind.”

              c. “We know why, we know why Magnus withdrew. There’s zero doubt.
                 There’s zero doubt why he withdrew.”

              d. “If they’re on a 15-minute delay, that says it all. If they’re on a 15-
                 minute delay, then we know the reason why Magnus withdrew from the
                 event. Plain and simple. That’s all that I need to say. They were not
                 on a delay for the first four rounds. Yeah, yeah, its that simple.”

       105.   Second, as the formerly second-highest-ranked chess player in the world, who

touted his inside knowledge regarding Chess.com, Nakamura knew that if he accused Niemann of

cheating, or stated that he believed Niemann cheated, the public would assume that those

accusations and/or opinions were based on his inside knowledge and expertise in chess, and thus

should be credited as true.    To bolster that credibility, Nakamura made several false and

defamatory statements suggesting that he had such specialized knowledge, not known to the

public, further proving that Carlsen’s accusations against Niemann were true:

              a. “I’ve heard [similar accusations] from a lot of different chess players, in
                 regard to [Niemann’s] over-the-board shots. … I’m obviously not going
                 to say names, but these people I know these are people I know people
                 that I respect, very prominent people in the chess community.”


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              b. “… I heard about this directly from someone in Saint Louis, one of the
                 players during the rapid and blitz, who said that they’re basically certain
                 that Hans has done something, and then Magnus withdraws from the
                 tournament. So its … very, very strange.”

              c. [Niemann’s explanation of how he beat Carlsen is] “complete nonsense,
                 it’s just not possible because this is such an obscure line, there’s no way
                 you’re looking at it to this degree.”

              d. “I’ll just say this as someone who has played a lot of games, if you’re
                 super prepared, and you look at something that morning, you blitz out
                 the first 20 moves. If you looked at it that morning you just blitz out all
                 the moves. You don’t pretend, you don’t use 12 minutes. You use like
                 three or four minutes on one specific move. That’s how it works.”

              e. “This is weird. This analysis [by Niemann] is not 2700 level analysis.
                 This is not 2700 level analysis. Like, Alejandro’s outplaying him [as the
                 interviewer]. Alejandro’s not even using the engine and he’s outplaying
                 him.”

       106.    During that same streaming video, Nakamura also republished a tweet from an

account named “Unsubstantiated Chess Rumors” falsely stating that top players know that

Niemann had been banned twice on Chess.com for cheating, which statement Nakamura falsely

presented as fact, claiming “this is a legitimate tweet.”

       107.    During his stream the next day, on September 6, 2022, Nakamura continued to

amplify Carlsen’s allegations, and reiterated that his own specialized knowledge proved that

Carlsen’s accusations were true:

               a. “This is something that has been going on for a long time, I’ve heard
                  from many different people. And when Magnus is a World Champion
                  essentially, I think, is saying ‘there’s something weird going on,’ you
                  start to look at it a little bit differently.”

               b. “Why would Magnus say [this] if there’s literally no hard proof? Like
                  I said, amongst grandmasters, this rumor’s been around forever, I’ve
                  heard it, I’ve summarily dismissed it many different times, but actual
                  top players are saying stuff now.”




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        108.     Nakamura’s statements were false and defamatory, including because Niemann did

not cheat against Carlsen in the September 4, 2022 Sinquefield Cup match, and because Niemann

had not previously been banned twice on Chess.com for cheating. Yet as Nakamura well knew,

his reputation as one of the world’s top chess players allowed him to hurl these false and

completely unsubstantiated accusations against Niemann, and the public would regard them as

fact.

        109.     In response to Carlsen and Nakamura’s accusations, Niemann gave an interview

unequivocally denying that he had cheated in his Sinquefield Cup match against Carlsen on

September 4, 2022, or in any other FIDE-sanctioned event. During that interview, Niemann,

hoping to set the record straight, also responded to Nakamura’s accusations of online cheating in

recreational games by candidly admitting that when he was 12 and 16 years old, he had regrettably

used a “chess engine”—a computer program designed to calculate the optimal chess move in any

given situation—in a handful of non-FIDE-sanctioned recreational chess matches he played online

on Chess.com. Niemann expressed deep remorse for using a chess engine in these Chess.com

games, calling it the worst mistake of his life.1

        110.     Just days later, Chess.com and Rensch piled on their own false accusations

regarding Niemann’s online chess play on Chess.com. These false accusations were specifically

designed to depict Niemann as a serial cheater, and thus reinforce Carlsen’s accusations that

Niemann cheated against him “over the board” at the FIDE-sanctioned Sinquefield Cup.




1
  Notwithstanding Niemann’s remorse for experimenting with a chess engine on Chess.com as a child, it is important
to reiterate that these are merely recreational games having nothing to do with Niemann’s, or anyone else’s, FIDE
performance rating or global rank. As stated above, all of Niemann’s FIDE matches, including his victory over Carlsen
at the Sinquefield Cup, were in person, “over the board,” under tightly observed and secure conditions where he could
not, and did not, cheat.


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           111.     Specifically, on September 8, 2022 at 6:58 PM, Rensch caused Chess.com’s

Twitter account to post the following statement:

                    Dear Chess Community,

                    The last few days have been tumultuous for many in the chess community.
                    At this time, we have reached out to Hans Niemann to explain our decision
                    to privately remove him from Chess.com and our events. We have shared
                    detailed evidence with him concerning our decision, including
                    information that contradicts his statements regarding the amount and
                    seriousness of his cheating on Chess.com. We have invited Hans to
                    provide an explanation and response with the hope of finding a resolution
                    where Hans can again participate on Chess.com. We want nothing more
                    than to see the best chess players in the world succeed in the greatest events.
                    We will always act to protect the integrity of the game that we all love.

                    Danny Rensch
                    Chief Chess Officer
                    Chess.com2

           112.     Chess.com and Rensch’s above statement is false. Niemann did not lie about the

“amount and seriousness of his cheating on Chess.com.” In addition, Chess.com had not shared

any evidence with Niemann, let alone “detailed evidence” that “contradict[ed] [Niemann’s]

statements regarding the amount and seriousness of his cheating on Chess.com.” These are more

trumped-up, false allegations, specifically designed to further injure and defame Niemann by

accusing him of not only being a serial online cheater, but now also a liar.

           113.     In fact, the very first public comment to this tweet was “Ha! Hans is a liar!”

           114.     Moreover, on or about September 23, 2022, evidently unsatisfied with his scripted

corporate statement, Rensch engaged in an expletive-filled rant in an interview with The Guardian,

during which he made clear that he and Chess.com were accusing Niemann of cheating against

Carlsen at the Sinquefield Cup. As The Guardian reported, Rensch stated: “Once in a while

anomalies do happen. But if you have a lot of smoke, a lot of evidence, and a lot of reason to


2
    Unless otherwise indicated, all emphasis herein is added.


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believe in the DNA of who someone is, and you walk into the room and they just say, ‘I just lifted

that fridge with one arm’, you’re like, ‘Fu**ing bullsh*t, motherf***er.’” He followed, “I’m not

going on the record on anything that I think about the over-the-board scandal with Hans or Magnus,

but you can imply what you want based on what I’m saying.”

       115.    Rensch and Chess.com’s additional false accusations had the intended effect of

further fanning the flames of Carlsen’s initial defamatory accusations that Niemann cheated

against him “over the board” at the Sinquefield Cup.

       116.    For example, on September 9, 2022, GINX Esports TV wrote in an article that

“Chess.com banned [Niemann] after finding ‘evidence’ supporting the[] striking allegations” by

Carlsen and Chess.com.

       117.    Conspiracy theories began going viral on the internet, no longer concerned with

whether Niemann actually cheated but, rather, how he could have possibly cheated in an over the

board game with strict anti-cheating protocols. These swirling conspiracy theories were so

outrageous that they garnered the attention of, among many others, Elon Musk, who spread them

in posts on Twitter, and Stephen Colbert, who spread them on The Late Show with Stephen

Colbert. Elon Musk has 107.8 million Twitter followers, and The Late Show with Stephen Colbert

had 2.3 million viewers as of August 2022.

       118.    Moreover, given that, even according to Chess.com, Niemann had years earlier

resolved Chess.com’s issues with Niemann’s use of an engine during certain recreational online

games, and Niemann had never done so again, Chess.com’s sudden ban of Niemann from

Chess.com purportedly based on “cheating on Chess.com” could not have been a more obvious

pretext for its collusion with Carlsen and Play Magnus to destroy Niemann’s reputation and

blacklist him from professional chess.



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       119.    For its part, Play Magnus posted the following defamatory meme on Twitter, which

portrays Niemann as the villain from a movie and reiterates Carlsen’s accusation that Niemann

had to cheat in order to beat Carlsen:




       120.    Then, during a livestream on Play Magnus’s YouTube channel on September 19,

2022, Play Magnus commentator and chess International Master Lawrence Trent told Play Magnus

commentator Tania Sachdev, in response to Carlsen’s cheating allegations against Niemann, that

“I am not going to reveal what I’ve seen” but “I’ve seen things that were previously unavailable

to me” and “Magnus’s side is much more credible from what I have seen.” In making this

statement, Play Magnus, through Lawrence Trent, falsely represented to the public that he and

Carlsen possess private and undisclosed facts indicating that Niemann cheated at the Sinquefield

Cup when they do not.



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F.     Carlsen Continues His Defamatory Campaign Against
       Niemann Behind the Scenes, Making More Defamatory Statements

       121.    Despite the immediate damage that Defendants caused Niemann by their

defamatory statements set forth above, Carlsen evidently believed that Niemann still had not been

punished enough for defeating and disrespecting him at the Sinquefield Cup.

       122.    Accordingly, to ensure that he inflicted the maximum possible damage to Niemann

and his career, Carlsen, in the days and weeks that followed the Sinquefield Cup, deployed a more

covert defamatory campaign against Niemann, designed to bolster Carlsen’s more high-profile

defamatory accusations within the chess community, specifically.

       123.    For example, in yet another malicious lie, in approximately September 2022,

Carlsen verbally told other prominent chess players, including Norwegian grandmaster Aryan Tari,

that Niemann cheated against him at the Sinquefield Cup, and that he received from Chess.com

definitive proof of Niemann cheating “over the board.”

       124.    In addition to being knowingly false when made, the fact that Carlsen cited

Chess.com as the source of this information is further evidence that Defendants’ simultaneous

actions were part of a coordinated scheme, rather than mere parallel conduct.

       125.    In Carlsen’s malicious defamatory campaign against Niemann, Carlsen went as far

as paying Aryan Tari €300 to scream “Ukse Hans,” Norwegian for “Cheater Hans,” from the stands

at the closing ceremony of the European Club Cup on October 9, 2022, which was attended by

many of the world’s most prominent chess players and heard by many of its fans.

       126.    Shortly thereafter, the entire Norwegian chess team, including Carlsen, were

observed publicly chanting “Ukse Hans” in bars and the streets of the Austrian town where the

European Club Cup was held. Any reasonable listener of these statements would interpret them




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as reiterating Carlsen’s false accusation that Niemann cheated when he defeated Carlsen at the

Sinquefield Cup.

G.     Defendants Continue to Defame Niemann After Another Match with Carlsen

       127.    On September 19, 2022, after Defendants’ defamatory accusations had already

been widely disseminated worldwide, Niemann and Carlsen were slated to play each other again

at the Julius Baer Generation Cup.

       128.    As the reigning Chess champion, Carlsen could have seized upon this opportunity

to redeem himself from his upset loss at the Sinquefield Cup, or put this scandal to rest by admitting

that he had no reason to believe that Niemann actually cheated against him.

       129.    Instead, Carsen chose to pour more gasoline on the fire he started by resigning from

his match with Niemann after making one move, another unprecedented act for any top

professional chess player. By doing so, Carlsen intentionally sent another clear message to the

public: that Carlsen stood by his prior accusation that Niemann had cheated against him at the

Sinquefield Cup, and that the public onslaught he unleashed against Niemann was truthful,

justified, and should continue.

       130.    As the Daily News wrote on September 19, 2022, “Carlsen, the world’s best player

for over a decade, abruptly quit an online match amid allegations that his opponent, American

grandmaster Hans Niemann, is a devious cheat.”

       131.    As the BBC noted on September 23, 2022, “[a]ny thoughts that the issue of cheating

might be put to bed were quickly dashed when Carlsen resigned after making only one move – an

apparent protest at Niemann’s participation.”

       132.    In an interview on September 21, 2022, Carlsen was asked about the meaning

behind his abrupt resignation against Niemann in the Julius Baer Generation Cup. Carlsen laughed

and declined to comment, but then boasted “people can draw their own conclusions, and they

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certainly, certainly have” – a not-so-subtle endorsement of the swirling accusations and conspiracy

theories that Defendants created by accusing Niemann of cheating against Carlsen and lying about

cheating in the past.

       133.    Meanwhile, Carlsen was privately disseminating his false cheating accusations to

numerous members of the chess community, including chess commentator Lawrence Trent.

       134.    Moreover, to further fuel his prior defamatory accusations, Carlsen maliciously

added yet another accusation into the mix by sarcastically stating, “I have to say, I’m very

impressed by Niemann’s play and I think his mentor Maxim Dlugy must be doing a great job.”

       135.    Maxim Dlugy is not Niemann’s coach or mentor and has no involvement

whatsoever with Niemann’s training or preparation. Maxim Dlugy is a professional chess player

who is rumored to have cheated in online games on Chess.com. Accordingly, for those familiar

with chess, falsely associating Niemann’s play with Dlugy was a direct accusation that Maxim

Dlugy somehow helped Niemann cheat against Carlsen at the Sinquefield Cup.

       136.    The reporter, well aware of the message Carlsen was sending, noted to Carlsen “you

mentioned a name there, I think maybe a trainer of Hans Niemann, that he is doing a good job,”

and asked if Carlsen could “say some more about that? Is that because you think [Dlugy is] helping

Hans in the games?” Carlsen confirmed the accusation by laughing and stating that he hoped “to

say a little bit more after the tournament.”

       137.    However, Carlsen’s purposeful suggestion was more than enough for Nakamura,

who immediately took it to his streaming channels to fuel the next round of defamatory conspiracy

theories against Niemann.

       138.    On September 22, 2022, Nakamura played a recording of Carlsen’s interview on

his streaming channel and specifically highlighted Carlsen’s accusation that Dlugy helped



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Niemann cheat against him. Nakamura stated that “it’s very clear why Magnus is name-dropping

Dlugy. There is no doubt in anybody’s mind … The reason he name-dropped is because Dlugy

has been caught doing something wrong in … tournaments on Chess.com.”

       139.    Nakamura also made the false statement that “as we know now, Hans Niemann did

go to Max Dlugy’s academy in NYC for a short while.” That statement is false because Niemann

did not ever “go to Max Dlugy’s academy in” New York City, even “for a short while.”

       140.    Carlsen’s invocation of Dlugy to further defame Niemann adds to the significant

evidence that Carlsen actively conspired and coordinated with Chess.com to harm Niemann’s

reputation and blacklist Niemann from professional chess. As Chess.com later revealed, the source

of the suspicion surrounding Dlugy was a series of confidential interactions that Dlugy had with

Chess.com in 2017. The only way Carlsen could have known about these confidential interactions

is if Chess.com privately disclosed them to Carlsen before they were published in media articles

at the end of September 2022, as discussed below.

       141.    Approximately one week after the tournament, Richard Kahn, a known affiliate of

Play Magnus and former lawyer at Latham & Watkins, Chess.com’s attorneys in this action,

reached out to Dlugy, fishing for information about Niemann’s past that could be used against

Niemann, but found nothing.

H.     Carlsen Issues a Statement Explicitly Accusing Niemann of Cheating Against
       Him and Confirming His Intention to Blacklist Niemann from Professional Chess

       142.    On September 26, 2022, Carlsen issued a statement on his Twitter account

explicitly accusing Niemann of cheating against him at the Sinquefield Cup. Specifically,

Carlsen’s statement reads, in pertinent part:

               I believe that Niemann has cheated more – and more recently – than he has
               publicly admitted. His over the board progress has been unusual, and
               throughout our game in the Sinquefield Cup I had the impression that he


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               wasn’t tense or even fully concentrating on the game in critical positions,
               while outplaying me as black in a way I think only a handful of players can
               do. This game contributed to changing my perspective.

       143.    As is evident, Carlsen’s statement makes the factual accusation that Niemann has

“cheated more – and more recently – than he has publicly admitted,” including during his match

with Carlsen at the Sinquefield Cup. Moreover, to support this defamatory accusation, Carlsen

represents that he possesses private and undisclosed facts justifying his false factual assertion that

Niemann cheated against him.

       144.    Carlsen’s September 26, 2022 statement goes on to make crystal clear his attempt

to blacklist Niemann from future top-tier professional chess tournaments and events:

               We must do something about cheating, and for my part going forward, I
               don’t want to play against people that have cheated repeatedly in the
               past, because I don’t know what they are capable of doing in the future.

               There is more that I would like to say. Unfortunately, at this time I am
               limited in what I can say without explicit permission from Niemann to
               speak openly. So far I have only been able to speak with my actions, and
               those actions have stated clearly that I am not willing to play chess with
               Niemann.

       145.    By stating that Carlsen does not “want to play against people that have cheated

repeatedly in the past,” and that he is “not willing to play chess with Niemann,” Carlsen sent a

clear message to the organizers and sponsors of all future chess tournaments and events that if they

invite Niemann to those events, Carlsen—as the reigning World Champion and number-one

ranked chess player in the world—will not participate.

       146.    This statement also sent a clear message to Niemann that, even if Chess.com did

not ultimately acquire Play Magnus, Niemann would not be invited to play in the numerous

tournaments held or sponsored by his company Play Magnus.

       147.    Carlsen further solidified that Niemann was blacklisted by making clear that he is

“not willing to play chess with Niemann.” As Carlsen knows full well, no tournament organizer

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would choose to invite Niemann if it meant that Carlsen, the world’s number one player, would

not attend the event.

       148.    By stating that “at this time I am limited in what I can say without explicit

permission from Niemann to speak openly,” Carlsen represented that he had additional evidence

to support his defamatory accusations that Niemann cheated against him, but that Niemann is

somehow preventing him from disclosing it. Both of these statements are false.

I.     Chess.com, Rensch, and Nakamura Republish Carlsen’s False
       Accusation that Dlugy Is Niemann’s “Mentor” and Helped Him Cheat

       149.    Shortly after Carlsen falsely suggested that Dlugy is training Niemann and helping

him cheat, and around the same time that Carlsen posted his September 26, 2022 statement,

Chess.com and Rensch deliberately leaked years-old emails between Dlugy and Rensch to VICE

Media (“VICE”) in an attempt to legitimize the narrative that Dlugy was a cheater and that by

association, so was Niemann.

       150.    In those emails, Dlugy explained to Rensch that while he was playing in an online

tournament on Chess.com in 2017, he allowed the students at his chess academy to view his screen

and shout out suggestions for moves Dlugy should play. Dlugy stated that he later discovered that

one of the students may have been suggesting moves that the student derived using a chess engine.

       151.    On September 28, 2022, VICE published those emails as part of an article titled

“Chess Grandmaster Maxim Dlugy Admitted to Cheating on Chess.com, Emails Show,” with a

byline stating “Dlugy, who is one of Hans Niemann’s coaches and was recently namedropped by

Magnus Carlsen, cheated in his own tournaments in 2017 and 2020, according to emails he

exchanged with Chess.com.”




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       152.    That same day, Nakamura reacted to the VICE article during one of his video

streams. During that streaming video, Nakamura reiterated his false accusation that Niemann was

“not being completely clean about what’s going on” with respect to Niemann’s past with cheating.

       153.    Nakamura further stated that, based on the VICE story, there was “no way that

Chess.com is bluffing” in its defamatory September 8, 2022 press release accusing Niemann of

lying about the number of times he cheated on Chess.com and claiming to have shared unidentified

“detailed evidence” of this with Niemann.

       154.    In that same streaming video, Nakamura went on to state “you know what the

million dollar question is: who is the student” who suggested chess moves to Dlugy that came

from a chess engine. Nakamura proceeded to clearly suggest that Niemann was that student.

       155.    Nakamura’s statements were false because, as stated above, Niemann did not lie

about the amount and seriousness of his use of a chess engine on Chess.com, and because Niemann

was not the student who purportedly used a chess engine in suggesting moves to Dlugy during

Dlugy’s game on Chess.com in 2017.

J.     Numerous Officials and Experts Confirm that There is No Evidence
       that Niemann Cheated Against Carlsen or Lied About His Past Online Play

       156.    Since early September 2022, numerous chess officials and cheat-detection experts

have thoroughly examined the facts and circumstances and repeatedly confirmed that there is

absolutely no basis to believe that Niemann cheated in his match against Carlsen at the Sinquefield

Cup or that Niemann lied about his use of engine assistance in online games.

       157.    For example, on September 10, 2022, the Sinquefield Cup’s Chief Arbiter, Chris

Bird, issued a statement confirming that there was “no indication that any player has been playing

unfairly in the 2022 Sinquefield Cup. This includes all rounds played to date.”




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        158.     Around this same time, Tony Rich, the executive director of the Saint Louis Chess

Club, which hosted the Sinquefield Cup, denied that there was any indication of cheating, by any

player, during the tournament.

        159.     On September 21, 2022, Mr. Bird, the Sinquefield Cup Chief Arbiter, issued a

second statement on Twitter:

                 To all the folks who contacted me looking for comments/interviews: As
                 Chief Arbiter of the 2022 #SinquefieldCup, I would only say “one player
                 withdrew for personal reasons, and there is no indication that any player
                 played unfairly in any of those games.”

        160.     Separately, Kenneth Regan—a professor at the University of Buffalo who

developed the system used by FIDE to identify cheaters in chess games, and who is widely

regarded as the world’s foremost expert on cheating in chess, including by Carlsen and

Nakamura—publicly confirmed that there is absolutely no statistical evidence that Niemann

cheated in his game against Carlsen, or at any other time during the past two-plus years.

        161.     Professor Regan used his program to analyze games Niemann played in 106

separate events, together with online games and over the board games “since January 2020.”

Professor Regan clearly and unambiguously stated that this analysis produced “no evidence of

cheating in over the board [games] at all.” The same was true with respect to the specific

Sinquefield Cup game between Niemann and Carlsen, where Professor Regan stated “I found

nothing.”

        162.     Similarly, Caleb Wetherell, who runs the chess analytics website Pawnalyze, stated

that “it’s not out of the ordinary for an upset in an individual game, especially, like this to happen,”

because it is natural for “junior chess players to get better over time and eventually beat their

predecessors.”




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       163.    Consistent with the findings of all of these officials and experts, many unbiased top

chess players have stated that, after analyzing the Niemann-Carlsen match at the Sinquefield Cup

in detail, Carlsen simply played particularly poorly against Niemann, making several obvious

blunders that Niemann capitalized upon to win the match.

       164.    Further confirming the lack of any evidence that Niemann cheated, FIDE itself

issued a statement on September 23, 2022, admonishing Carlsen’s behavior and stating that it is

prepared to investigate the situation “when the adequate initial proof is provided.”

K.     To Drown Out Legitimate Sources Clearing Niemann of Carlsen’s
       Defamatory Accusations, Chess.com and Rensch Publish a Defamatory
       “Report” Falsely Accusing Niemann of Cheating and Lying About Online Cheating

       165.    On October 5, 2022, Niemann was scheduled to begin competing in the U.S. Chess

Championship tournament, which, due to Defendants’ repeated defamatory accusations and

blacklisting, is quite possibly one of the last competitive chess tournaments in which Niemann will

ever be allowed to play.

       166.    Niemann desperately hoped to be able to compete in that tournament, deliver an

impressive performance, and lessen the blow of at least some of Defendants’ defamatory

accusations.

       167.    Yet, once again, Defendants had different plans.

       168.    In an attempt to not only further destroy Niemann’s reputation, but also distract

Niemann to the maximum extent possible in the hopes of torpedoing his chances for victory at the

U.S. Chess Championship tournament, Chess.com and Rensch ensured that on October 4, 2022,

the day of the tournament’s opening ceremony, their defamatory accusations would once again

dominate the headlines.




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       169.    First, at approximately 3:30 PM on October 4, 2022, the Wall Street Journal

published an article titled “Chess Investigation Finds That U.S. Grandmaster ‘Likely Cheated’

More Than 100 Times.”

       170.    Contrary to the legitimacy connoted by the article’s inflammatory title, the

“investigation” referenced therein was nothing more than a one-sided, self-serving and defamatory

hit piece produced entirely by Chess.com, which Chess.com maliciously leaked to the Wall Street

Journal to fuel the spectacle of Carlsen’s cheating allegations on the eve of Niemann’s potentially

final competitive tournament.

       171.    Hours after the Wall Street Journal published its article and created a frenzy within

the chess world and the media at large, Chess.com published on its website the defamatory “report”

(the “Defamatory Report”) upon which the article was based.

       172.    Like Chess.com’s defamatory September 8, 2022 press release, which was

tactically made in conjunction with Carlsen’s accusations that Niemann cheated “over the board,”

Chess.com’s Defamatory Report falsely claims that Niemann “cheated much more than he has

publicly admitted to, including in many prize events, at least 25 streamed games, and 100+ rated

games on Chess.com, as recently as when he was 17 years old.”

       173.    Chess.com and Rensch knew that the Defamatory Report is false because, among

other things, it accuses Niemann of cheating in games while live streaming (i.e., with both his face

and his computer screen visible to the public), while Rensch previously admitted to Niemann that

he knew Niemann had never cheated in any games he played while streaming. In addition to

Rensch’s prior admission, the Defamatory Report’s accusations that Niemann cheated in games

while streaming are demonstrably false because Niemann’s face and computer screen were clearly

visible in real time during those games, and plainly show that he was not cheating.



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       174.    Further evidencing that the Defamatory Report was intentionally false and

misleading is its absurd claim that Niemann cheated in games where he lost or played so poorly

that no reasonable person with knowledge of chess could possibly conclude that he cheated.

       175.    The reality is that not even Chess.com believes Niemann cheated in all of the 100+

online games listed in the Defamatory Report. Rather, the Defamatory Report was designed with

the malicious intent of demolishing Niemann’s career and reputation to protect Chess.com’s soon-

to-be-acquired asset, Play Magnus.

       176.    The Defamatory Report also falsely states that Niemann purportedly “confessed”

to these so-called “cheating offenses” during a call with Rensch in 2020. Chess.com knows full

well that this accusation is false, as demonstrated by the fact that Chess.com claims it was not fully

aware of the extent of Niemann’s supposed cheating until after it recently conducted a “deeper

dive” into the data relating to his online chess games following Carlsen’s accusations. Niemann

could not have “confessed” in 2020 to cheating in games that Chess.com only claims to have

learned about in 2022.

       177.    While Chess.com was forced to admit in the Defamatory Report that there is no

“concrete evidence proving that Hans is cheating over the board,” that “over the board”

professional chess is not Chess.com’s domain of expertise, and that Chess.com does not

“advocate” for that conclusion, the Defamatory Report nevertheless provides 10 pages of slanted

and inaccurate analysis to bolster the false narrative that Niemann did cheat over the board at

FIDE-sanctioned events. For example, the Defamatory Report states:

               a. “While we do not doubt that Hans is a talented player, we note that his results
                  are statistically extraordinary.”

               b. “Hans is consistently above many contemporaries in strength increases, even
                  though he has he has only recently shown the same caliber of play.”



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               c. “Hans also had two rating plateaus that are uncharacteristic of the class of
                  improving chess prodigies who become elite GMs.”

               d. “Hans…has had an uncharacteristically erratic growth period mired by
                  consistent plateaus.”

               e. There are only “13 players currently ranked in the world’s top 50 players who
                  are younger than 25,” and that “Hans is the only player who became a GM at
                  age 17” while the others “all achieved the title between ages 12 and 16.”

               f. “The conventional wisdom is that if you are not a GM by age 14, it is unlikely
                  that you can reach the top levels of chess. While that statement may seem
                  discouraging, it has been borne out in modern chess history. Greats like
                  Fischer, Kasparov, Carlsen, and almost all of the modern GMs who have been
                  established as top five players, were notable GMs by age 15 at the latest.

               g. “[T]here are many remarkable signals and unusual patterns in Hans’ path as a
                  player.”

       178.    Yet, according to Kenneth Regan, the world’s foremost expert in detecting cheating

in chess, the notion that Niemann’s rise was faster than all of his contemporaries is “just wrong,”

and the allegations that Niemann cheated in over the board FIDE-sanctioned events are

“completely unfair.” As Professor Regan explained to the New York Times,

               Chess.com didn’t account for what he called the pandemic lag. Over-the-
               board tournaments ceased as COVID infections raged, so for months,
               Niemann was playing nearly manic amounts of chess matches online, which
               do not affect one’s FIDE rating. When live tournaments resumed, he was
               like a student who had been cramming nonstop without an exam to show
               off what he’d learned. Add the downtime imposed by the pandemic and the
               climb to nearly 2,700 from 2,500 actually took him 27 months — the same
               as many other gifted players. Also, Niemann played 259 official games last
               year. (By contrast, Carlsen played 41.) As a number of grandmasters have
               noted, factor in the sheer number of games Niemann played and his progress
               seems impressive but not extraordinary. As for Niemann’s over-the-board
               games, Regan has studied many of them, and not one showed evidence of
               cheating.

       179.    Further, despite defensively disclaiming any coordination with its partner, Carlsen,

which is frankly incredible, and admitting that FIDE is responsible for professional “over the board

chess,” the Defamatory Report dedicates another two pages to defending Carlsen’s defamatory


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accusations, including by using Carlsen’s own statements. For example, in the Defamatory Report,

Chess.com:

                  a. Falsely claims that Niemann’s explanation of his preparation was not supported
                     by records of Carlsen’s prior games.

                  b. Demeans Niemann’s post-game analysis, claiming that “[t]his analysis and
                     dependence on the engine seem to be at odds with the level of preparation that
                     Hans claimed was at play in the game and the level of analysis needed to defeat
                     the World Chess Champion.”

                  c. Reports that Carlsen “shared in a private conversation that his experience in
                     playing Hans was ‘unlike a game he’s ever had.’ He emphasized that he has
                     competed against numerous prodigies and players who ‘exert’ themselves and
                     show great effort throughout a long, difficult fight like this game. He described
                     Hans’ level of exertion as ‘effortless’ and felt he never had a chance to get back
                     in the game, which was extremely unusual for Magnus who is known for his
                     resourcefulness.” 3

                  d. Tries to bolster Carlsen’s purported private conversation by claiming that
                     “Hans’ lack of emotion or excitement about the result was also noted by several
                     others,” and linking to videos of “the reactions of notable players who have
                     beaten Magnus.”

                  e. Claims that the “game and the surrounding behaviors and explanations are
                     bizarre.”

         180.     Highlighting that the Defamatory Report is nothing more than a false and malicious

hatchet-job on Niemann is that, as set forth above, its self-serving “findings” are directly refuted

by exhaustive analysis from Professor Ken Regan, the world’s foremost expert on cheating in

chess.

         181.     In fact, after Chess.com published the Defamatory Report, Professor Regan directly

discredited the false accusations made against Niemann in that document.




3
  Notably, this portion of the Defamatory Report is taken virtually verbatim from Nakamura’ statement while
streaming a month earlier on September 5, 2022, that “I’ve never seen Magnus just lose like that, where it seemed like
he never had a chance in the game. Like, there are many games he’s lost, … but games where he had no chance? Its
very, very rare.”


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       182.    Likewise, contrary to Chess.com’s self-serving contention that it merely wanted to

ensure the integrity of the 2022 Chess.com Global Championship tournament, Chess.com allowed

several players who had previously been banned from online chess for cheating in high profile

events to participate in that tournament.

       183.    In fact, Sebastien Feller, a European Grandmaster who was caught cheating at the

2010 Chess Olympiad tournament and subsequently banned from participating in FIDE-sanctioned

events for nearly three years, is currently playing in the same tournament as Carlsen—the 2022

European Club Cup—with no objection whatsoever from Chess.com or Carlsen. Magnus recently

played a FIDE-sanctioned game against Parham Maghsoodloo, who was banned from Lichess.org

for cheating. Likewise, chess Grandmaster Teimour Radjabov has been repeatedly boycotted by

players for allegedly cheating, and Rensch has claimed that Chess.com algorithms confirmed that

he cheated. Yet, to this day, Radjabov is allowed to compete in prize-money events on Chess.com,

including the Global Chess Championship from which Niemann was uninvited.

       184.    Apparently, Carlsen only reserves his protests for those who have defeated him and

threaten to undermine the financial value of Carlsen’s brand and the Merger.

       185.    Equally false is Chess.com’s recent statement to the New York Times, reported in

an article dated December 4, 2022, claiming that it wanted to keep its findings private but had to

“defend [them]selves” after Niemann went public about his use of a chess engine in a handful of

recreational games when he was a child. As set forth above, Niemann’s public statements were a

direct response to the false accusations leveled by Nakamura, Chess.com’s top streaming partner,

claiming that Niemann was banned twice on Chess.com for cheating and that Niemann was a

rampant online cheater.




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        186.     As chess Grandmaster Ben Finegold put in a statement to the New York Times, “It

just seems like they want to back up what Magnus is saying for business reasons.” Chess.com

published the Defamatory Report, Finegold and other critics say, “to protect its recent $82 million

investment in Play Magnus, which is very closely tied to Carlsen’s personal reputation and

success.” “There’s no evidence in the report that Hans cheated recently, so it’s very strange,” said

Finegold. Putting to rest any notion that Finegold might be biased in favor of Niemann, Finegold

made clear that “I really don’t like Hans at all, and I’ve not liked him for a long time.”

        187.     Moreover, Nakamura, who has repeatedly admitted to having access to inside

information from Chess.com, was obviously parroting the so-called “findings” in the Defamatory

Report, which, according to Chess.com, had yet to be released to the public. To the contrary,

however, Chess.com’s number one streaming partner was widely disseminating this “inside”

information before Niemann had spoken on the subject at all. Similarly, before Niemann’s public

statements, Chess.com also leaked this information to Carlsen, as is evident from Carlsen’s

reference to Chess.com’s so-called “evidence” of Niemann’s cheating when Carlsen defamed

Niemann to chess Grandmaster Aryan Tari.

        188.     In the Defamatory Report, Chess.com does not even deny that its decision to ban

Niemann from Chess.com was not based on their allegations of online cheating, stating, “We

uninvited Hans from our upcoming major online event and revoked his access to our site based on

our experience with him in the past, growing suspicions among top players and our team about his

rapid rise of play, the strange circumstances and explanations of his win over Magnus, as well as

Magnus’ unprecedented withdrawal.”4




4
  The Defamatory Report quotes Niemann as stating that Chess.com has “the best cheat detection in the world,” but
that is only what Chess.com told Niemann at the time. Niemann has since learned that this is entirely false.


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       189.    Only hours after its release, Nakamura reacted to the Wall Street Journal article on

his stream and endorsed Chess.com’s self-serving accusations as true by, among other things,

stating “the fact that [Niemann] has cheated in these tournaments, Titled Tuesday 1, 2, 3. I mean,

to me the Titled Tuesdays are bad enough as is, but then when you see that he cheated in the PRO

Chess League as well….”

       190.    Nakamura then tactically weaponized the Defamatory Report to further

Defendants’ efforts to blacklist Niemann from professional chess, stating “What happens with the

US Championship? Because, honestly, I feel like there’s a real chance that now that this has

dropped, you could have top players in the event say they’re not going to play against Hans.”

L.     Defendants’ Coordinated Defamatory Accusations
       and Blacklisting Have Destroyed Niemann’s Life

       191.    Despite the fact that Niemann did not cheat during his Sinquefield Cup match

against Carlsen, or use an engine during online recreational matches more frequently than he has

acknowledged, Defendants’ coordinated campaign of defamation and misinformation has

nevertheless already had the desired effect of destroying Niemann’s reputation, career, and

livelihood.

       192.    On September 5, 2022, the same day that Carlsen withdrew from the Sinquefield

Cup, Chess.com banned Niemann from its website and all of its future events, including the

Chess.com Global Championship in October 2022, to which Niemann had previously earned an

invitation. This was less than a week after Chess.com confirmed in writing, as recently as August

31, 2022, that it was “super excited to have [Niemann] in the event, and looking forward to [him]

competing.” Yet, the only thing that changed between August 31, 2022 and September 5, 2022

was that Niemann defeated Carlsen at the Sinquefield Cup.




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       193.    Niemann had also arranged for a match against fellow up-and-coming teenage

Grandmaster Vincent Keymer, to be hosted in Germany. However, following Defendants’

accusations, Keymer has refused to play in this match, specifically based on Defendants’

defamatory accusations against Niemann.

       194.    Prior to Defendants’ defamatory accusations, Niemann had also been in extensive

negotiations with the Tata Steel Chess Tournament—which is one of the world’s most prestigious

tournaments and has Chess.com as one of its main sponsors—to have Niemann compete.

However, in the face of Defendants’ repeated false and defamatory accusations, the Tata Steel

Chess Tournament has ceased all contact with Niemann.

       195.    Carlsen’s point-blank refusal to participate in any tournament that invites Niemann,

and Chess.com’s outright banning of Niemann from any tournament associated with it, have cut

Niemann off from the vast majority of tournaments.

       196.    In a typical year, Niemann could expect to participate in approximately 15 major

chess tournaments, each of which would (i) generate approximately $5,000 to $15,000 in

appearance fees for Niemann; (ii) give Niemann access to potential cash prizes ranging between

approximately $5,000 to $100,000; and (iii) provide Niemann the opportunity to play matches

against highly-rated competitors to increase his FIDE rating.

       197.    By being excluded from these tournaments, Niemann has lost any opportunity to

obtain any appearance fees or cash prizes, as well as the ability to improve his FIDE rating.

       198.    By banning Niemann from online chess platforms, which Defendants monopolize,

Niemann’s streaming career has also been destroyed.

       199.    In fact, Niemann cannot even obtain employment as chess teacher at a reputable

school now that his reputation has been destroyed by Defendants’ lies.



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M.     In Addition to Damaging Niemann Directly, Defendants’
       Misconduct Has a Chilling Effect on the Competitive Chess Market

       200.    Defendants’ coordinated efforts to blacklist Niemann and destroy his reputation in

retaliation for posing a threat to Carlsen’s reputation, the value of the Play Magnus brand, and the

Merger have not only harmed Niemann himself, but have also chilled competition within the

Competitive Chess Market as a whole.

       201.    After blacklisting Niemann and destroying his career, Chess.com finalized its

Merger with Play Magnus to create a monopoly over the Competitive Chess Market. Formerly

the two largest competitive chess companies in the world, their merger leaves no meaningful

alternative for engaging or promoting oneself in competitive chess, either professionally through

their sponsored in-person events, or online because they collectively dominate nearly every major

online chess website.

       202.    At the same time, Chess.com has significant commercial relationships with only

certain of the world’s top chess players, including Carlsen and Nakamura, and thus has a vested

financial interest in ensuring that these select players maintain stellar reputations and competitive

standing as two of the top-ranked chess players in the world.

       203.    Chess.com’s interest in protecting Carlsen’s reputation as the greatest chess player

ever and ensuring his continued success so that he remains the undisputed “King of Chess” is

particularly critical to Chess.com due to the $82 million investment that Chess.com made to

acquire Play Magnus. Indeed, Carlsen is to Chess.com what Michael Jordan is to Nike. Nike,

however, does not control who plays in the NBA.

       204.    As demonstrated above, Defendants, through both their past and present conduct,

have amply demonstrated that, collectively, they are ready, willing and able to abuse their immense

influence over the Competitive Chess Market to destroy the reputation and livelihood of an


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upcoming competitive chess player who threatens their business interest through illegal means

such as defamation and blacklisting.

         205.   Moreover, as illustrated in its Defamatory Report, Chess.com maintains a long list

of over 25 presently anonymous top chess Grandmasters, from whom Chess.com purportedly

obtained confessions to using a chess engine on its online recreational chess platform, and is

willing to cite to its own self-serving “cheat detection” system to accuse players of cheating in

online games in which Chess.com knows that players could not have cheated.

         206.   Based on Chess.com’s newly acquired monopoly over nearly all major competitive

chess platforms, there is no doubt that, left unchecked,        Chess.com’s “anonymous” list of

confessed or accused cheaters will continue to grow without any oversight or transparency.

         207.   Moreover, based on Chess.com’s conduct with respect to Niemann, and others such

as Eric Hansen and Akshat Chandra, any up-and-coming chess players will live in fear that if they

dare upset or defeat Carlsen or Nakamura, or otherwise present any challenge to Chess.com’s

dominance or business interests, Chess.com will immediately and publicly brand them a cheater

and blacklist them from the Competitive Chess Market.

                                  FIRST CAUSE OF ACTION
                               (Slander – Against All Defendants)

         208.   Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

         209.   Defendants published and repeatedly re-published false and defamatory oral

statements accusing Niemann of cheating during his match against Carlsen and in other

unidentified competitive chess games, and lying about cheating in the past, as set forth more fully

above.

         210.   Defendants’ statements were false, as set forth more fully above.


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         211.   Defendants made the defamatory statements with full knowledge that such

statements were false, or with reckless disregard as to whether such statements were false, as set

forth more fully above.

         212.   Niemann’s reputation has been, and continues to be, significantly damaged by

Defendants’ misconduct, including by: (i) losing his appearance fees for the Chess.com Global

Championship, the Tata Steel Chess Tournament, and future chess tournaments; (ii) losing access

to potential tournament prize funds at the Chess.com Global Championship, the Tata Steel Chess

Tournament, and future chess tournaments; (iii) losing access to the vast majority of opportunities

to increase his FIDE rating by playing matches against other top-rated players; (iv) having his

reputation in the Competitive Chess Market and the public destroyed; (v) being prevented from

obtaining lucrative endorsements, sponsorships, business and marketing opportunities; and

(vi) being forced to incur significant costs, expenses and fees, including but not limited to

attorneys’ fees, to try to remedy or mitigate the damage caused by Defendants’ misconduct.

         213.   Accordingly, Niemann is entitled to a money judgment against Defendants in an

amount to be determined at trial but not less than $100,000,000, including compensatory,

consequential, and punitive damages.

                                SECOND CAUSE OF ACTION
                                (Libel – Against All Defendants)

         214.   Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

         215.   Defendants published and repeatedly re-published false and defamatory written

statements accusing Niemann of cheating during his match against Carlsen and in other

unidentified competitive chess games, and lying about cheating in the past, as set forth more fully

above.


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       216.    Defendants’ statements were false, as set forth more fully above.

       217.    Defendants made the defamatory statements with full knowledge that such

statements were false, or with reckless disregard as to whether such statements were false, as set

forth more fully above.

       218.    Niemann’s reputation has been, and continues to be, significantly damaged by

Defendants’ misconduct, including by: (i) losing his appearance fees for the Chess.com Global

Championship, the Tata Steel Chess Tournament, and future chess tournaments; (ii) losing access

to potential tournament prize funds at the Chess.com Global Championship, the Tata Steel Chess

Tournament, and future chess tournaments; (iii) losing access to the vast majority of opportunities

to increase his FIDE rating by playing matches against other top-rated players; (iv) having his

reputation in the Competitive Chess Market and the public destroyed; (v) being prevented from

obtaining lucrative endorsements, sponsorships, business and marketing opportunities; and

(vi) being forced to incur significant costs, expenses and fees, including but not limited to

attorneys’ fees, to try to remedy or mitigate the damage caused by Defendants’ misconduct. .

       219.    Accordingly, Plaintiff is entitled to a money judgment against Defendants in an

amount to be determined at trial but not less than $100,000,000, including compensatory,

consequential, and punitive damages.

                              THIRD CAUSE OF ACTION
                    (Clayton Act, 15 U.S.C. § 15(a), by Violations of the
                Sherman Act, 15 U.S.C. § 1, et seq. – Against All Defendants)

       220.    Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

       221.    Defendants acted in concert to improperly refuse to deal with Niemann, as

described more fully above, including Chess.com banning Niemann from its platform and



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sponsored events, Carlsen refusing to play Niemann in any tournaments or events, and Defendants

acting collectively to cause organizers of professional chess tournaments to blacklist Niemann

from participating in their events.

       222.    The global Competitive Chess Market, including Chess.com and Play Magnus as

global companies, affects trade or commerce among the several States, including internationally

by operating international chess tournaments with cash prizes within the United States and in other

countries, as well as operating within the United States internet-based chess servers that are

accessible worldwide.

       223.    Defendants’ concerted actions to ban and blacklist Niemann constitute an improper

and unreasonable restraint of trade because those actions remove a top chess player from the

national and international chess circuit.

       224.    Moreover, because Defendants’ conduct had the effect of coercing other market

actors to refuse to do business with Niemann, Defendants’ agreement to ban and blacklist Niemann

is a per se improper restraint of trade.

       225.    Defendants’ conduct has caused, and will continue to cause, substantial monetary

damage to Niemann by, including but not limited to, preventing Niemann from participating in

chess tournaments that award appearance fees and monetary prizes, as well as preventing Niemann

from obtaining lucrative endorsements, sponsorships, business and marketing opportunities and

otherwise making a living from his skill at playing chess.

       226.    Accordingly, Niemann is entitled to treble damages, plus costs of suit, including

reasonable attorneys’ fees.




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                              FOURTH CAUSE OF ACTION
                     (Clayton Act, 15 U.S.C. § 15(a), by Violations of the
                 Sherman Act, 15 U.S.C. § 2, et seq. – Against All Defendants)

       227.    Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

       228.    Defendants’ conduct in intentionally foreclosing competition in the Competitive

Chess Market constitutes an attempt to monopolize that market.

       229.    The Merger provided Defendants with a significant share of the Competitive Chess

Market.

       230.    To foreclose competition in the Competitive Chess Market, Defendants have

deliberately engaged in anticompetitive efforts to (i) ensure that Chess.com, which already had a

significant market share before the Merger, has monopolistic power over who participates in

competitive chess online and which players are invited to play in professional chess tournaments;

and (ii) preclude players from competing in chess tournaments that challenge Chess.com’s

sponsored players, monopolistic power and business interests.

       231.    If Defendants’ intentional anticompetitive conduct is allowed to continue, there is

a dangerous likelihood that they, along with Chess.com, will achieve monopoly power in the

Competitive Chess Market.

       232.    There are no legitimate efficiency benefits that counterbalance the demonstrated

anticompetitive effects of these overt acts.

       233.    Accordingly, Niemann is entitled treble damages, plus costs of suit, including

reasonable attorneys’ fees.




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                                FIFTH CAUSE OF ACTION
              (Tortious Interference with Contract and Business Expectancies –
                                   Against All Defendants)

       234.    Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

       235.    Niemann had contracts and/or valid business expectancies with the Chess.com

Global Championship, Vincent Keymer, and the Tata Steel Chess Tournament.

       236.    As fellow members of the Competitive Chess Market, Defendants had actual

knowledge of Niemann’s contracts and/or business expectancies with the Chess.com Global

Championship, Vincent Keymer, and the Tata Steel Chess Tournament.

       237.    Defendants intentionally interfered with Niemann’s relationship with the

Chess.com Global Championship, Vincent Keymer, and the Tata Steel Chess Tournament by

defaming Niemann and improperly attempting to restrain trade by coercing them to terminate their

relationship with Niemann and blacklist him from future competitive chess matches, as set forth

more fully above.

       238.    Defendants had no justification for their conduct because, as set forth above, they

each knew that their conduct was motivated solely to cause specific harm to Niemann rather than

to protect any legitimate competitive interest.

       239.    Niemann has suffered extensive damages as a result of Defendants’ conduct,

including but not limited to the loss of: (i) appearance fees for the 2022 Chess.com Global

Championship, the Tata Steel Chess Tournament, and future chess tournaments; (ii) access to

potential tournament prize funds at the 2022 Chess.com Global Championship, the Tata Steel

Chess Tournament, and future chess tournaments; (iii) access to the vast majority of opportunities

to increase his FIDE rating by playing matches against other top-rated players; (iv) his reputation



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in the Competitive Chess Market and the public; and (v) potential endorsements, sponsorships,

and business and marketing opportunities.

       240.    Accordingly, Niemann is entitled to a money judgment against Defendants in an

amount to be determined at trial, including compensatory, consequential, and punitive damages.

                                  SIXTH CAUSE OF ACTION
                          (Civil Conspiracy – Against All Defendants)

       241.    Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

       242.    Defendants schemed and agreed amongst themselves to repeatedly defame

Niemann to members of the chess community and the public at large, in order to improperly cause

the chess community to refuse to deal with Niemann, as described more fully above, including by

unlawfully banning Niemann from Chess.com’s platform and sponsored events, and blacklisting

Niemann from participating in professional chess tournaments.

       243.    Defendants took multiple overt acts in furtherance of their scheme and agreement,

including by making repeated false and defamatory statements accusing Niemann of having

cheated during his match against Carlsen on September 4, 2022, unlawfully banning Niemann

from Chess.com’s platform and sponsored events, and interfering with his professional

relationships, as described more fully above.

       244.    Niemann has suffered extensive damages as a result of Defendants’ conduct,

including but not limited to: (i) losing appearance fees for the 2022 Chess.com Global

Championship, the 2023 Tata Steel Chess Tournament, and future chess tournaments; (ii) losing

access to potential tournament prize funds at the 2022 Chess.com Global Championship, the Tata

Steel Chess Tournament, and future chess tournaments; (iii) losing access to the vast majority of

opportunities to increase his FIDE rating by playing matches against other top-rated players; and


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(iv) having his reputation in the Competitive Chess Market and the public destroyed; (v) being

prevented from obtaining lucrative endorsements, sponsorships, business and marketing

opportunities; and (vi) being forced to incur significant costs, expenses and fees, including but not

limited to attorneys’ fees, to try to remedy or mitigate the damage caused by Defendants’

misconduct.

       245.    Accordingly, Niemann is entitled to a money judgment against Defendants in an

amount to be determined at trial, but not less than $100,000,000, including compensatory,

consequential, and punitive damages.

                               SEVENTH CAUSE OF ACTION
                           (Breach of Contract – Against Chess.com)

       246.    Niemann repeats, reiterates, and re-alleges each and every allegation as contained

in the above paragraphs with the same force and effect as if fully set forth herein.

       247.    As set forth above, prior to Niemann’s defeat of Carlsen at the Sinquefield Cup,

Chess.com and Niemann entered into an agreement that Niemann would participate in the October

2022 Chess.com Global Championship.

       248.    As further set forth above, Chess.com breached its agreement with Niemann by

unilaterally revoking his invitation to play in the Chess.com Global Championship after Carlsen

withdrew from the Sinquefield Cup and publicly conveyed the false narrative that Niemann had

cheated against Carlsen in that over the board tournament.

       249.    Niemann performed all of his obligations under the agreement with Chess.com, was

ready, willing and able to participate in the Chess.com Global Championship, and would have

done so absent Chess.com’s unilateral breach of the agreement.




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       250.    Chess.com failed to pay Niemann the appearance fee to which they had agreed, and

Niemann was unable to participate in the Chess.com Global Championship and compete for the

prize money offered at that event.

       251.    Accordingly, Niemann is entitled to a money judgment against Chess.com in an

amount to be determined at trial, but not less than $200,000.

WHEREFORE, Niemann hereby requests that the Court grant the following relief:

       a)      On the First Cause of Action, a money judgment in favor of Niemann
               against Defendants, the specific amount of which to be determined at trial,
               but not less than $100,000,000, plus pre-judgment interest;

       b)      On the Second Cause of Action, a money judgment in favor of Niemann
               against Defendants, the specific amount of which to be determined at trial,
               but not less than $100,000,000, plus pre-judgment interest;

       c)      On the Third Cause of Action, treble damages, plus costs of suit, including
               reasonable attorneys’ fees;

       d)      On the Fourth Cause of Action, treble damages, plus costs of suit, including
               reasonable attorneys’ fees;

       e)      On the Fifth Cause of Action, a money judgment in favor of Niemann
               against Defendants, the specific amount of which to be determined at trial,
               plus pre-judgment interest;

       f)      On the Sixth Cause of Action, a money judgment in favor of Niemann
               against Defendants, the specific amount of which to be determined at trial,
               but not less than $100,000,000, plus pre-judgment interest;

       g)      On the Seventh Cause of Action, a money judgment in favor of Niemann
               against Chess.com, the specific amount of which to be determined at trial,
               but not less than $200,000, plus pre-judgment interest;

       h)      An award of Niemann’s costs, expenses, and reasonable attorneys’ fees
               incurred in connection with this action to the extent otherwise permitted by
               law; and

       i)      Any other and further relief as the Court deems just and proper.




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Dated: New York, New York
       January 10, 2023
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